From:               Complaint@dol.gov
To:                 OSHA - Complaints - KANSAS-CITY (F124)
Subject:            Serious Event Report Notification, Work-related Fatality or Injury (SER786362)
Date:               Tuesday, March 29, 2022 11:48:09 AM




SERIOUS EVENT REPORT

Reference: SER786362

Event Information:
Date and time of the event: 03/28/2022 02:00 PM
(Event Time Zone: America/Chicago)

Date and time notified: 03/29/2022 12:43 PM ET

Event Description: EMPLOYEE PULLED A SLAB ACROSS ROLLERS AND HER SHIRT GOT CAUGHT IN
THEM. EMPLOYEE ATTEMPTED TO PUSH HERSELF AWAY FROM THE ROLLERS AND GOT HER
FINGERS WRAPPED IN THE SHIRT AND PULLED IN TO THE ROLLERS ALSO.

Fatalities: 0
Other injuries: 0

Location of The Event:
OZARK PINE SAWMILL
7686 HWY 137 SOUTH
HOUSTON Missouri 65555
County: TEXAS

Injured Workers Information:
Victim #1


Preceding Circumstances: REMOVING A BLOCK OF WOOD FROM ROLLER BED ON THE SAW LINE

Injury Description: FINGERTIP AMPUTATION OF THE LEFT RING FINGER

Harmed by: ROLLERS ON ROLLER BED

Injury Classification: (Amputation)

Employer:
Legal Name: OZARK PINE LLC
Other Name: OZARK SHAVINGS LLC
200 STAPLES LN
LICKING, Missouri 65542

Employer Contact Information:
Contact #1
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Contact #2
ROBERT ROGERS JR



                                                      EXHIBIT B
CEO
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